      Case 1:21-cv-00100-EGS Document 130-2 Filed 02/09/22 Page 1 of 26



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                                         )
NANCY GIMENA HUISHA-HUISHA, and her                      )
minor child I.M.C.H.*; VALERIA MACANCELA                 )
BERMEJO, and her minor daughter, B.A.M.M.*;              )
JOSAINE PEREIRA-DE SOUZA, and her minor                  )
children H.N.D.S.*; E.R.P.D.S.*; M.E.S.D.S.*;            )
H.T.D.S.D.S.*; MARTHA LILIANA TADAY-                     )
ACOSTA, and her minor children D.J.Z.*; J.A.Z.*;         )   No. 21-cv-100-EGS
JULIEN THOMAS, FIDETTE BOUTE, and their                  )
minor children D.J.T.-B.*; T.J.T.-B.*; and               )
ROMILUS VALCOURT, BEDAPHECA                              )
ALCANTE, and their minor child, B.V.-A.*;                )
on behalf of themselves and others similarly situated,   )
c/o American Civil Liberties Union                       )
125 Broad Street, 18th Floor                             )
New York, NY 10004;                                      )
                                                         )
Plaintiffs,                                              )
                                                         )
v.                                                       )
                                                         )
DAVID PEKOSKE,** ACTINGALEJANDRO N.                      )
MAYORKAS,** SECRETARY OF HOMELAND                        )
SECURITY, in his official capacity,                      )
Department of Homeland Security                          )
245 Murray Lane SW                                       )
Washington, DC 20528;                                    )
                                                         )
TROY MILLER,** SENIOR OFFICIAL                           )
PERFORMING THE DUTIES OF THECHRIS                        )
MAGNUS,** COMMISSIONER OF U.S.                           )
CUSTOMS AND BORDER PROTECTION                            )
(“CBP”), in his official capacity,                       )
U.S. Customs and Border Protection                       )
1300 Pennsylvania Ave. NW                                )
Washington, DC 20229;                                    )
                                                         )
WILLIAM A. FERRARAPETE FLORES,**                         )
EXECUTIVE ASSISTANT COMMISSIONER, CBP                    )
OFFICE OF FIELD OPERATIONS, in his official              )
capacity,                                                )
CBP Office of Field Operations                           )
1300 Pennsylvania Ave. NW                                )
Washington, DC 20229;                                    )
                                                         )
RODNEY S. SCOTT,RAUL L. ORTIZ,** CHIEF                   )
OF U.S. BORDER PATROL, in his official capacity,         )
U.S. Border Patrol                                       )
1300 Pennsylvania Ave. NW                                )
Washington, DC 20229;                                    )
      Case 1:21-cv-00100-EGS Document 130-2 Filed 02/09/22 Page 2 of 26



                                                      )
TAE D. JOHNSON,** SENIOR OFFICIAL                     )
PERFORMING THE DUTIES OF THE DIRECTOR                 )
OF U.S. IMMIGRATION AND CUSTOMS                       )
ENFORCEMENT, in his official capacity,                )
U.S. Immigration and Customs Enforcement,             )
500 12th Street SW                                    )
Washington, DC 20536;                                 )
                                                      )
NORRIS COCHRAN,** ACTINGXAVIER                        )
BECERRA, SECRETARY OF HEALTH AND                      )
HUMAN SERVICES, in his official capacity,             )
U.S. Department of Health and Human Services          )
Hubert H. Humphrey Building                           )
200 Independence Ave. SW                              )
Washington, DC 20201;                                 )
                                                      )
DR. ROCHELLE P. WALENSKY,** DIRECTOR                  )
OF THE CENTERS FOR DISEASE CONTROL                    )
AND PREVENTION, in her official capacity,             )
Centers for Disease Control and Prevention            )
1600 Clifton Road                                     )
Atlanta, GA 30329;                                    )
                                                      )
Defendants.


 FIRSTSECOND AMENDED CLASS ACTION COMPLAINT FOR DECLARATORY
                    AND INJUNCTIVE RELIEF

      (Violations of Public Health Service Act, Refugee Act, Foreign Affairs Reform and
Restructuring Act of 1998, Immigration and Nationality Act, and Administrative Procedure Act)

      *Proceeding under pseudonyms pursuant to Federal Rule of Civil Procedure 5.2(a).
      ** Automatically substituted pursuant to Federal Rule of Civil Procedure 25(d).
       Case 1:21-cv-00100-EGS Document 130-2 Filed 02/09/22 Page 3 of 26




                                       INTRODUCTION

1.     In 2020, the federal government established an unlawful system for restricting immigration

along the Canadian and Mexican borders under the purported authority of 42 U.S.C. § 265, a public

health provision. This system is established in a set of agency documents—a new regulation,

several orders, and an implementation memo—which Plaintiffs collectively refer to as the “Title

42 Process” or “Title 42 Policy.” The stated purpose of the Policy is to protect against COVID-

19.

2.     A certified class of unaccompanied children previously challenged this Title 42 Process,

as unauthorized by any law and contrary to the statutes Congress has enacted. The Process has

beenwas preliminarily enjoined as to unaccompanied children, with all three Judges to have

examinedbefore Defendants voluntarily exempted unaccompanied children from the issue

agreeing that it’s likely unlawful. SeeProcess after the injunction was stayed pending appeal.

Notice of Temporary Exception From Expulsion of Unaccompanied Noncitizen Children Pending

Forthcoming Public Health Determination, 86 Fed. Reg. 9,942 (Feb. 17, 2021); P.J.E.S. by &

through Escobar Francisco v. Wolf, __502 F. Supp. 3d. ___, No. 20-CV-2245-EGS, 2020 WL

6770508 492, 502 (D.D.C. Nov. 18, 2020) (Sullivan, 2020), preliminary injunction stayed, P.J.,

adopting report and recommendation of Harvey, J.); J.B.B.C. .E.S. v. WolfMayorkas, No. 20-CV-

1509-CJN, 2020 WL 60418705357 (D.D.C. June 26, 2020) (Nichols, J.).C. Cir.).

3.      Among other things, the Title 42 Process authorizes the summary expulsion of noncitizens,

including vulnerable families seeking asylum in this country, without any of the procedural

protections guaranteed by Congress—even if the families show no signs of having COVID-19.

4.     Plaintiffs are six families that fled their countries and are seeking safety in the United

States. Prior to the Title 42 Process, and pursuant to longstanding immigration statutes protecting




                                                1
       Case 1:21-cv-00100-EGS Document 130-2 Filed 02/09/22 Page 4 of 26




asylum seekers, Plaintiffs were entitled to assert claims for asylum and related forms of

humanitarian protection, and to procedures Congress established to ensure the fair determination

of their right to remain in the United States.

5.        Through the Title 42 Process, the Trump Administrationexecutive branch has sought to

usurp Congress’s role and bypass the entire immigration statutory scheme. Specifically, the Trump

Administration contendedDefendants contend that public health provisions in Title 42 of the U.S.

Code—provisions that have rarely been used and never in this way—allow itthem to set aside the

immigration laws.

6.        Title 42 authorizes various powers, such as testing and quarantines, but has never been

interpreted to authorize the broad powers the government is claiming here.

7.        Not only does the Title 42 Process violate the immigration statutes, it is also patently

arbitrary and capricious from a public health standpoint.

8.        The principal stated justifications for the Title 42 Process are that it is necessary to protect

border officers and that the introduction of persons into congregate settings poses a danger to

public health. Specifically, the government asserts that when a person arrives at the border seeking

protection and lacks a visa, border agents from the Department of Homeland Security (“DHS”)

will be forced to spend additional time screening the individual under the immigration laws,

thereby exposing the officers to great danger. But as public health experts have uniformly

explained, numerous safety measures are available, including social distancing, face masks, and

gloves.

9.        Indeed, the entire Title 42 Process was established as a pretext. Numerous press reports

show that expert scientists at the Centers for Disease Control and Prevention (“CDC”) rejected the

use of public health powers to expel noncitizens as unnecessary, but the Process was nevertheless




                                                     2
       Case 1:21-cv-00100-EGS Document 130-2 Filed 02/09/22 Page 5 of 26




imposed on the CDC by former White House officials seeking to limit immigration, and not as a

bona fide measure to protect public health. See, e.g., Pence Ordered Borders Closed After CDC

Experts Refused, AP News (Oct. 3, 2020), https://apnews.com/article/virus-outbreak-pandemics-

public-health-new-york-health-4ef0c6c5263815a26f8aa17f6ea490ae; CDC Officials Objected to

Order Turning Away Migrants at Border, The Wall Street Journal (Oct. 3, 2020),

https://www.wsj.com/articles/cdc-officials-objected-to-order-turning-away-migrants-at-border-

11601733601.

10.    Whatever the Trump Administration’s motivation for establishing theThe Title 42 Process

and applying it to vulnerable families, the Process is unlawful. Plaintiffs would face grave danger

in their home countries and must be given the opportunity to remain in the United States to pursue

the statutory humanitarian protections Congress has provided.

                                JURISDICTION AND VENUE

11.    This case arises under the Administrative Procedure Act (“APA”), 5 U.S.C. § 701, et seq.;

the Immigration and Nationality Act (“INA”), 8 U.S.C. § 1101, et seq. and its implementing

regulations; the Convention Against Torture (“CAT”), see Foreign Affairs Reform and

Restructuring Act of 1998 (“FARRA”), Pub. L. No. 105-277, div. G, Title XXII, § 2242, 112 Stat.

2681, 2681-822 (1998) (codified as Note to 8 U.S.C. § 1231); and the Public Health Service Act

of 1944, 42 U.S.C § 201, et seq.

12.    This Court has jurisdiction pursuant to 28 U.S.C. § 1331 (federal question), and the

Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202. See also 5 U.S.C. § 702 (waiver of sovereign

immunity).

13.    Venue is proper under 28 U.S.C. § 1391(e)(1) because Defendants are agencies of the

United States and officers of the United States acting in their official capacity, Defendants reside




                                                 3
        Case 1:21-cv-00100-EGS Document 130-2 Filed 02/09/22 Page 6 of 26




in this District, and a substantial part of the events or omissions giving rise to the claim occurred

in this District.

                                            PARTIES

Plaintiffs

14.     Nancy Gimena Huisha-Huisha and her then-one-year-old child I.M.C.H. arewere detained

in DHS custody and subject to expulsion under the Title 42 Process.

15.     Josiane Pereira-De Souza and her children H.N.D.S., E.R.P.D.S., M.E.S.D., and

H.T.D.S.D.S. arewere detained in DHS custody and subject to expulsion under the Title 42

Process. Ms. Pereira-De Souza’s children arewere respectively sixteen, fourteen, eleven, and

seven years old during detention.

16.     Valeria Macancela Bermejo and her then-four-year-old child B.A.M.M. arewere detained

in DHS custody and subject to expulsion under the Title 42 Process.

17.     Martha Liliana Taday-Acosta, and her children D.J.Z. and J.A.Z. arewere detained in DHS

custody and subject to expulsion under the Title 42 Process. Ms. Taday-Acosta’s children arewere

respectively three and eight years old when detained.

18.     Julien Thomas, Fidette Boute, and their children D.J.T.-B. and T.J.T.-B. arewere detained

in DHS custody and subject to expulsion under the Title 42 Process. The two children are(twins)

were 23-month- months old twinswhen detained.

19.     Romilus Valcourt, Bedapheca Alcante, and their then-three-year-old child B.V.-A. arewere

detained in DHS custody and subject to expulsion under the Title 42 Process.

Defendants

20.     Defendant David PekoskeAlejandro N. Mayorkas is the Acting Secretary of Homeland

Security, which is a cabinet-level department of the U.S. government. He is sued in his official




                                                 4
         Case 1:21-cv-00100-EGS Document 130-2 Filed 02/09/22 Page 7 of 26




capacity. In that capacity, Defendant PekoskeMayorkas is responsible for the administration of

the immigration laws pursuant to 8 U.S.C. § 1103. DHS’s components include U.S. Customs and

Border Protection (“CBP”) and U.S. Immigration and Customs Enforcement (“ICE”).1

21.      Defendant Troy MillerChris Magnus is the Senior Official Performing the Duties of the

Commissioner of CBP. He is sued in his official capacity. In that capacity, hehis predecessor

directed the issuance of the CBP’s memorandum implementing expulsions under the Title 42

Process, and. Defendant Magnus is a supervisory official responsible for implementing the Title

42 Process. CBP is the sub-agency of DHS that is responsible for the initial processing and

detention of noncitizens who are apprehended at or between U.S. ports of entry. CBP is

responsible for implementing the Title 42 Process and conducts expulsions pursuant to its terms.

22.      Defendant William A. FerraraPete Flores is the Executive Assistant Commissioner of

CBP’s Office of Field Operations (“OFO”). He is sued in his official capacity. OFO is the largest

component of CBP and is responsible for border security, including immigration and travel

through U.S. ports of entry. Defendant Ferrara Flores is a supervisory official responsible for

implementing the Title 42 Process at ports of entry.

23.      Defendant Rodney S. ScottRaul L. Ortiz is the Chief of U.S. Border Patrol. He is sued in

his official capacity. Border Patrol is responsible for border security between ports of entry.

Defendant Scott Ortiz is a supervisory official responsible for implementing the Title 42 Process

between ports of entry.

24.      Defendant Tae D. Johnson is the Senior Official Performing the Duties of the Director of

ICE. ICE is the sub-agency of DHS that is responsible for carrying out removal orders and

overseeing immigration detention. Defendant Johnson is sued in his official capacity.



1
    By naming defendants, Plaintiffs do not concede that any Defendant’s appointment was valid.


                                                 5
       Case 1:21-cv-00100-EGS Document 130-2 Filed 02/09/22 Page 8 of 26




25.     Defendant Norris CochranXavier Becerra is the Secretary of Health and Human Services

(“HHS”), which is a cabinet-level department of the U.S. government. He is sued in his official

capacity. In that capacity, Defendant CochranBecerra is responsible for the oversight of the

Centers for Disease Control and Prevention (“CDC”),, which is a component of HHS.

26.     Defendant Dr. Rochelle P. Walensky, M.D., M.P.H., is the Director of the CDC. She is

sued in her official capacity. In that capacity, her predecessor, Dr. Robert R. Redfield, M.D.,

initially authorized the Title 42 Process at issue in this case.

                                               FACTS

Statutory Protections For Asylum Seekers

27.     Vulnerable families have long fled persecution and danger in their home countries and

journey to the United States seeking safety. Many of them come from countries such as El

Salvador, Honduras, Guatemala, Haiti, and Mexico, which have been plagued with escalating rates

of violence and weakened state institutions. Others come from countries such as Ecuador and

Brazil, where they have faced persecution based on their indigenous identities or political

affiliations. Many families from these countries are also fleeing gender-based, family-based, and

other types of violence.

28.     These families, like other noncitizens, have statutory rights to seek relief in the United

States from persecution and torture. Three forms of relief are possible: asylum, withholding of

removal, and protection from torture.

29.     First, the Immigration and Nationality Act (“INA”) provides that “[a]ny alien who is

physically present in the United States or who arrives in the United States (whether or not at a

designated port of arrival . . . ), irrespective of such alien’s status,” may apply for asylum. 8 U.S.C.

§ 1158(a)(1). To qualify for asylum, a noncitizen must show a “well-founded fear of persecution”




                                                   6
       Case 1:21-cv-00100-EGS Document 130-2 Filed 02/09/22 Page 9 of 26




on account of a protected ground. 8 U.S.C. § 1101(a)(42)(A).

30.    Second, implementing this country’s obligations under the 1951 Refugee Convention and

the 1967 Protocol relating to the Status of Refugees, Congress has barred the removal of an

individual to a country where it is more likely than not that he would face persecution on a

protected ground. 8 U.S.C. § 1231(b)(3). This form of relief, known as “withholding of removal,”

requires the applicant to meet a higher burden with respect to the likelihood of harm but is

mandatory if the standard is met.

31.    Third, the Convention Against Torture (“CAT”), implemented by FARRA, prohibits the

government from returning a noncitizen to a country where it is more likely than not that he would

face torture. See 8 U.S.C. § 1231 note.

32.    Certain noncitizens who seek to enter the country without valid documents may be placed

in a summary “expedited removal” system (in lieu of full removal proceedings under 8 U.S.C.

§ 1229a). See 8 U.S.C. § 1225(b)(1). But even in those expedited proceedings, Congress took

pains to guarantee procedural protections for asylum seekers. Specifically, if noncitizens express

a fear of removal, they are entitled to a hearing with an asylum officer, subject to review by an

Immigration Judge, to determine whether they have a “credible fear” of return.                 Id.

§§ 1225(b)(1)(A)(ii), 1225(b)(1)(B). Once the noncitizen shows a credible fear—a “low screening

standard,” 42 Cong. Rec. 25,347 (1996)—they are entitled to a full removal hearing with the

attendant procedural protections, including the right to appeal, see Grace v. Barr, 965 F.3d 883,

902 (D.C. Cir. 2020) (explaining that one of the “important” goals of the statute was “ensuring

that individuals with valid asylum claims are not returned to countries where they could face

persecution”).

The Trump Administration’s Efforts to Bar Immigrants and the New Title 42 Process




                                                7
      Case 1:21-cv-00100-EGS Document 130-2 Filed 02/09/22 Page 10 of 26




33.    The Trump Administration, which established the Title 42 Process, has repeatedly and

publicly stated that restricting access to asylum is among its key immigration objectives. The

President, his close advisors, and a succession of agency officers have assailed access to asylum

and related forms of humanitarian protection.

34.    The Trump Administration sought to use numerous regulatory and policy mechanisms to

prevent noncitizens from seeking protection in this country, but the Title 42 Process at issue here

goes further than any of those efforts because where it applies it leaves almost no avenue open to

seek protection.

35.    Before COVID-19, Trump Administration officials discussed using public health powers

to restrict immigration and circumvent the protections in the immigration laws. Trump White

House advisors repeatedly proposed invoking the government’s public health powers to impose

immigration restrictions, and justifying those restrictions by pointing to diseases like influenza and

mumps.

36.    Notwithstanding the clear statutory framework that requires the United States to allow

people arriving at the border (with or without valid travel documents) to apply for asylum,

withholding of removal, and CAT relief, then-President Trump announced on March 20, 2020,

that the CDC would issue an order pursuant to the public health provisions of Title 42 of the U.S.

Code “to suspend the introduction of all individuals seeking to enter the U.S. without proper travel

documentation” across the northern and southern borders. The former President stated that the

order would be executed by “immediately returning” such individuals “without delay.”

37.    Section 265 was the specific provision of Title 42 invoked to justify the unprecedented

expulsion policy. That provision dates to 1893 and was later reenacted in substantially the same

language in the Public Health Service Act of 1944. Section 265 provides in relevant part: the




                                                  8
      Case 1:21-cv-00100-EGS Document 130-2 Filed 02/09/22 Page 11 of 26




Surgeon General may “prohibit . . . the introduction of persons or property” from designated places

where “by reason of the existence of any communicable disease in a foreign country there is serious

danger of the introduction of such disease into the United States.”2

38.    Deportation has never been an available mechanism under § 265, and in fact, § 265 applies

to both noncitizens and citizens. Rather, the Public Health Service Act prescribes certain civil and

criminal penalties for violations of § 265, including “a fine of not more than $1,000 or . . .

imprisonment for not more than one year, or both.” 42 U.S.C. § 271(a).

39.    Although § 265 and its predecessors have existed since 1893, no regulation implementing

that statute has ever authorized the broad immigration powers Defendants are claiming here.

40.    To exercise this new immigration power, the CDC thus issued a new regulation, without

advance notice and comment, on the same day as the President’s announcement. See Control of

Communicable Diseases; Foreign Quarantine: Suspension of Introduction of Persons Into United

States From Designated Foreign Countries or Places for Public Health Purposes, 85 Fed. Reg.

16559-01 (Mar. 24, 2020) (effective date Mar. 20, 2020).

41.    Specifically, the regulation added a new provision, 42 C.F.R. § 71.40, which provides that

the CDC may prohibit the “introduction into the United States of persons” from foreign countries.

85 Fed. Reg. at 16,563; see 42 C.F.R. § 71.40(a). The public notice of the regulation describes the

“introduction of persons” in 42 U.S.C. § 265 to “encompass those who have physically crossed a

border of the United States and are in the process of moving into the interior in a manner the [CDC]

Director determines to present a risk of transmission of a communicable disease.” 85 Fed. Reg. at

16,563; see 42 C.F.R. § 71.40(b)(1). And it describes “serious danger of the introduction of [a



2
  In 1966, the Surgeon General’s § 265 authority was transferred to what is now HHS. In 2001,
HHS delegated this authority to the CDC. The President’s functions under § 265 were assigned
to the Secretary of HHS in a 2003 executive order.


                                                 9
      Case 1:21-cv-00100-EGS Document 130-2 Filed 02/09/22 Page 12 of 26




particular communicable] disease into the United States” in § 265 as meaning “the potential for

introduction of vectors of the communicable disease into the United States, even if persons or

property in the United States are already infected or contaminated with the [same] communicable

disease.” 85 Fed. Reg. at 16,563; see 42 C.F.R. § 71.40(b)(2).

42.     The regulation exempted U.S. citizens, lawful permanent residents (“LPRs”), and members

of the armed forces, stating that the “CDC believes that, at present, quarantine, isolation, and

conditional release, in combination with other authorities, while not perfect solutions, can

mitigate” the spread of COVID-19 by such individuals. 85 Fed. Reg. at 16,564; see 42 C.F.R.

§ 71.40(e), (f).

43.     The regulation also provided that, if an order suspending the introduction of persons “will

be implemented in whole or in part” by CBP, “then the [CDC] Director shall, in coordination with

the Secretary of Homeland Security or other applicable Federal department or agency head,

explain in the order the procedures and standards by which any authorities or officers or agents are

expected to aid in the enforcement of the order.” 85 Fed. Reg. at 16,564; see 42 C.F.R.

§ 71.40(d)(2).

44.     Pursuant to its new regulatory authority, the CDC issued a 30-day “Order Under Sections

362 and 365 of the Public Health Service Act [42 U.S.C. §§ 265, 268] Suspending Introduction of

Certain Persons From Countries Where a Communicable Disease Exists.” 85 Fed. Reg. 17,060-

17088 (Mar. 26, 2020) (effective date Mar. 20, 2020). The March 2020 Order directed the

“immediate suspension of the introduction” of certain persons, referred to as “covered aliens.” 85

Fed. Reg. at 17,067. “Covered aliens” are those seeking to enter the United States through Canada

or Mexico who “seek[] to enter . . . at POEs [ports of entry] who do not have proper travel

documents, aliens whose entry is otherwise contrary to law, and aliens who are apprehended near




                                                10
      Case 1:21-cv-00100-EGS Document 130-2 Filed 02/09/22 Page 13 of 26




the border seeking to unlawfully enter the United States between POEs.” 85 Fed. Reg. at 17,061.

Section 365 of the Act, codified at 42 U.S.C. § 268, provides that “[i]t shall be the duty of the

customs officers and of Coast Guard officers to aid in the enforcement of quarantine rules and

regulations.” 42 U.S.C. § 268(b).

45.    A principal justification for these restrictions was that “[t]he introduction into congregate

settings in land POEs and Border Patrol stations” of such individuals risks “transmission and

spread of COVID-19 to CBP personnel” and others. 85 Fed. Reg. at 17,061.

46.    The Order contemplatesorder contemplated the forcible return of individuals back to the

country from which they entered (Canada or Mexico), their home country, or another location. 85

Fed. Reg. at 17,067.

47.    In addition to repeating the regulatory exceptions for U.S. citizens and LPRs, the Order

exemptsorder exempted from the ban the spouses and children of citizens and LPRs (whether or

not they have valid documents); persons from foreign countries with valid travel documents; and

persons from countries in the visa waiver program who present at ports of entry. 85 Fed. Reg. at

17,061. The visa waiver program applies to nationals of 39 countries.

48.    The Order statesorder stated that DHS customs officers could, in their discretion, determine

that a noncitizen “should be excepted [from the Order] based on the totality of the circumstances,

including consideration of significant law enforcement, officer and public safety, humanitarian,

and public health interests.” 85 Fed. Reg. at 17,061. Other than stating that a supervisor must

approve such exceptions, the Order containsorder contained no standards or further procedures for

exercising that discretion. See id.

49.    The Orderorder and regulation are silent on their application to individuals seeking asylum,

withholding of removal, or CAT protection.




                                                11
      Case 1:21-cv-00100-EGS Document 130-2 Filed 02/09/22 Page 14 of 26




50.    The March 202020 Order was extended for an additional 30 days on April 20, 2020. See

Extension of Order Under Sections 362 and 365 of the Public Health Service Act, 85 Fed. Reg.

22,424 (Apr. 22, 2020) (effective date Apr. 20, 2020).

51.    On May 20, 2020, the CDC extended the Orderorder indefinitely, and amended it to cover

both land and coastal ports of entry and Border Patrol stations. See Amendment and Extension of

Order Under Sections 362 and 365 of the Public Health Service Act, 85 Fed. Reg. 31,503 (May

26, 2020) (effective date May 21, 2020).

52.    As with the prior two 30-day Ordersorders, a principal justification articulated for the

indefiniteMay 2020 Order was the danger to border agents who would have to inspect persons who

come without documents.

53.    The CDC acknowledged that there were alternatives to expulsion but concluded that it was

not worth the resources for those who lacked documents. The CDC also presumed, without

evidence, that those without documents covered by the Order would lack a means of self-

quarantining.

54.    CDC suggested in the May 202020 Order that there has been a reduced rate of transmission

and that this is due to reduced number of “covered aliens” at ports of entry and border patrol

stations. CDC offered no evidence for this claim.

55.    Defendants issued a subsequent, substantially similar Final Rule, and reissued the CDC

order pursuant to that Rule. Control of Communicable Diseases; Foreign Quarantine: Suspension

of the Right To Introduce and Prohibition of Introduction of Persons Into United States From

Designated Foreign Countries or Places for Public Health Purposes, 85 Fed. Reg. 56,424 (Sept.

11, 2020) (effective date Oct. 13, 2020); Order Suspending the Right To Introduce Certain Persons

From Countries Where a Quarantinable Communicable Disease Exists, 85 Fed. Reg. 65,806,




                                               12
      Case 1:21-cv-00100-EGS Document 130-2 Filed 02/09/22 Page 15 of 26




65,807-08 (Oct. 16, 2020) (effective date Oct. 13, 2020).

The Biden Administration’s Continuation of the Title 42 Process.

56.    The regulation underlying the Title 42 Process, 42 C.F.R. § 71.40, has not been altered

after it was issued as a final rule in September 2020.

57.    In August 2021, the CDC issued its latest order pursuant to 42 C.F.R. § 71.40, re-affirming

that families, unlike unaccompanied children, remain subject to expulsion under the Title 42

Process. Public Health Reassessment and Order Suspending the Right To Introduce Certain

Persons From Countries Where a Quarantinable Communicable Disease Exists, 86 Fed. Reg.

42,828, 42,829 (Aug. 5, 2021).

58.    The August 2021 Order was based on pretextual reasons not related to public health and,

upon information and belief, issued over the objections of scientific experts within the government.

Further, the August 2021 Order does not articulate a reasoned explanation for the decision to apply

the Title 42 Process to families; fails to adequately explain and justify the disparate treatment of

families from others who cross the border or those at the border and in the interior in congregate

settings; fails to consider relevant factors in applying the Title 42 Process to families, including

their fear of persecution and torture in their home countries; relies on factors Congress did not

intend to be considered; fails to consider and adopt reasonable alternatives that were less

restrictive; offers no sufficient explanation for the decision to expel families from the country; and

fails to disclose the actual, non-pretextual reasons for establishing and continuing the Title 42

Process and applying it to families. The August Order also fails to explain the departure from

Defendants’ existing policies prohibiting the return of individuals who fear persecution or torture,

without providing a reasoned explanation for departing from these policies.

DHS’s Implementation of the Title 42 Process




                                                 13
      Case 1:21-cv-00100-EGS Document 130-2 Filed 02/09/22 Page 16 of 26




56.59. Although the March CDC Order (and subsequent orders pursuant to 42 C.F.R. § 71.40)

was issued by the CDC, and the regulation provides that the CDC CBP and DHS must coordinate

in developing corresponding procedures and standards, 42 C.F.R. § 71.40(d)(2), the Order states

that it was CBP that “developed anthe operational planplans for implementing the order.”CDC’s

orders. 85 Fed. Reg. at 17,067; 86 Fed. Reg. at 42,829.

57.60. On April 2, 2020, CBP issued a memorandum (“CBP Memo”) describing the agency’s

implementation of the Title 42 Process, an effort it calls “Operation Capio.” CBP Memo 2.

58.61. To determine whether a noncitizen is “subject to the CDC Order,” the CBP Memo instructs

officers to use “experience” and “physical observation” to determine whether they “believe[] that

it is more likely than not” that the person whom they encounter in “[e]nforcement efforts on the

SWB [southwestern border] and NB [northern border],” anywhere “within the area of operation of

a Border Patrol station or POE operated by CBP,” is “seeking to enter” without proper travel

documents at or between POEs. CBP Memo 1.

59.62. Covered noncitizens “will be transported to the nearest POE and immediately returned to

Mexico or Canada, depending on their point of transit.” CBP Memo 3. Those who are “not

amenable to immediate expulsion to Mexico or Canada, will be transported to a dedicated facility

for limited holding prior to expulsion” to their home country. Id. Such facilities can be “a tent,

soft-sided facility or predesignated CBP/USBP facility with dedicated space.” Id.

60.63. The CBP Memo provides no instructions on medical screenings or other procedures for

determining whether a covered noncitizen may have COVID-19.

61.64. Families who arrive in this country together, like Plaintiffs, are subject to the Title 42

Process. Indeed, Defendants subjected over 21,500171,000 members of such families to the Title

42 Process between March 2020 and December, 2020 2021.




                                               14
       Case 1:21-cv-00100-EGS Document 130-2 Filed 02/09/22 Page 17 of 26




62.65. The Plaintiff families in this case came to the United States fleeing great danger in their

home countries. All of them seek to apply for asylum, withholding, and protection for torture, but

all of them have been denied access to these procedural protections.

66.     The Title 42 Process is not justified by public health concerns.

63.67. A principal justification is that border agents will have greater exposure if they are required

to process individuals who lack documents and that it is therefore necessary to deport such

individuals to reduce the risk to agents. But, as Plaintiffs’ facts illustrate, arranging for air transport

to deport individuals will often take longer than the time in which DHS could process, quarantine,

and/or release families. Ms. Pereira-De Souza and her children, for example, have beenwere

detained in DHS custody for over a month whileas they awaitawaited expulsion. In addition,

where the individual shows no signs of COVID-19, as is likely true for many of the families at

issue here, the risk is even less.

The Title 42 Process Is An Extreme Outlier

64.68. The Title 42 Process at issue here follows other invocations of COVID-19 by the Trump

Administration to ban immigration, but it is far more extreme in seeking to eliminate statutory

protections for vulnerable noncitizens. And it is not only a ban on entry, but provides for summary

expulsion for those who entered the country.

65.69. For example, in February and March of 2020, then President Trump issued a series of

Proclamations under 8 U.S.C. § 1182(f) to prohibit the entry of certain persons traveling from

China, Iran, and certain European countries where COVID-19 was prevalent. However, unlike the

Title 42 Process, those Proclamations expressly stated that they did not restrict “any individual’s

eligibility for asylum, withholding of removal, or protection under the regulations issued pursuant

to the legislation implementing the Convention Against Torture.”




                                                    15
      Case 1:21-cv-00100-EGS Document 130-2 Filed 02/09/22 Page 18 of 26




66.70. At the same time, the government continues to permit large numbers of people to enter the

United States. In addition to the Title 42 Process at issue here, DHS issued two other orders on

March 20, 2020, which temporarily suspended “non-essential” travel from Canada and Mexico.

Under these orders, which have been extended every 30 days since, permitted “essential travel”

broadly includes citizens, returning LPRs, individuals traveling for medical purposes, individuals

traveling to attend education institutions, individuals traveling to work in the United States (e.g.,

agricultural workers), truck drivers moving cargo between the United States and Canada,

emergency responders, and those engaged in military travel and operations.

67.71. On May 22, 2020, former Acting Secretary of Homeland Security Chad Wolf issued an

“exemption” from the President’s Proclamations under 8 U.S.C. § 1182(f), which additionally

permitted certain professional athletes, their staff, and their dependents to enter the country. Mr.

Wolf determined that it served “the national interest” to permit noncitizens who compete in, inter

alia, the National Basketball Association, the Professional Golfers’ Association Tour, and the

National Hockey League, to enter the country and participate in sporting events.

68.72. Hundreds of thousands of individuals continue to move back and forth across the U.S.-

Mexico border every day. Since March 20, 2020, when the Title 42 Process first went into effect,

numerousmillions of individuals exempted from the ban have come into the United States.

Class Action Allegations

69.73. Plaintiffs bring this action under Federal Civil Rules of Civil Procedure 23(a) and 23(b)(2)

on behalf of themselves and a class of all other persons similarly situated.

70.74. Plaintiffs seek to represent the following Proposed Class: All noncitizens who (1) are or

will be in the United States; (2) come to the United States as a family unit composed of at least

one child under 18 years old and that child’s parent or legal guardian; and (3) are or will be




                                                 16
      Case 1:21-cv-00100-EGS Document 130-2 Filed 02/09/22 Page 19 of 26




subjected to the Title 42 Process.

71.75. The proposed class satisfies the requirements of Rule 23(a)(1) because the class is so

numerous that joinder of all members is impracticable. According to Defendants’ own publicly

available data, over 21171,000 members of families that fit the class definition have already been

subjected to the Title 42 Process. The proposed class also includes numerous future families.

72.76. The class meets the commonality requirements of Rule 23(a)(2). The members of the class

are subject to a common practice: subjection to the Title 42 Process, despite the statutory

protections Congress has enacted. By definition, all class members are or will be subject to that

practice. The lawsuit raises numerous questions of law common to members of the proposed class,

including: whether § 265 authorizes expulsions; whether the Title 42 Process violates the

immigration statutes; and whether the promulgation of the Title 42 Process satisfied the APA’s

requirements. Plaintiffs and proposed class members also share a common core of facts: all are

families who came (or will come) to the United States and were (or will be) subsequently taken

into DHS custody; all have been (or will be) subjected to the Title 42 Process; and none have been

afforded the protections provided under the nation’s immigration laws.

73.77. The proposed class meets the typicality requirements of Rule 23(a)(3), because the claims

of the representative Plaintiffs are typical of the claims of the class. Plaintiffs are six families who

came to the border and were subjected to the Title 42 Process and threatened with swift expulsion,

without being afforded any of the statutory protections they should have received.

74.78. The proposed class meets the adequacy requirements of Rule 23(a)(4). The representative

Plaintiffs seek the same relief as the other members of the class—among other things, an order

declaring the Title 42 Process unlawful as applied to families, and an injunction against the

application of the Title 42 Process. In defending their rights, Plaintiffs will defend the rights of all




                                                  17
      Case 1:21-cv-00100-EGS Document 130-2 Filed 02/09/22 Page 20 of 26




proposed class members fairly and adequately.

75.79. The proposed class is represented by counsel from the American Civil Liberties Union

Foundation Immigrants’ Rights Project and other experienced attorneys. Proposed Class Counsel

have extensive experience litigating class action lawsuits and other complex systemic cases in

federal court on behalf of migrant children, families, and other noncitizens facing deportation.

76.80. The proposed class also satisfies Rule 23(b)(2). Defendants have acted (or will act) on

grounds generally applicable to the class by subjecting them to the Title 42 Process rather than

affording them the protections of the immigration laws. Injunctive and declaratory relief is

therefore appropriate with respect to the class as a whole.

                                     CAUSES OF ACTION

                                 FIRST CLAIM FOR RELIEF

  (ULTRA VIRES, VIOLATION OF THE PUBLIC HEALTH SERVICE ACT, 42 U.S.C.
    § 265, AND THE ADMINISTRATIVE PROCEDURE ACT, 5 U.S.C. § 706(2)(A))

77.81. All of the foregoing allegations are repeated and realleged as if fully set forth herein.

78.82. The APA provides that courts “shall . . . hold unlawful and set aside agency action” that is

“arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C.

§ 706(2)(A).

79.83. Title 42 of the U.S. Code does not authorize the expulsion of noncitizens from the United

States.

80.84. Title 42 of the U.S. Code also does not authorize the expulsion of noncitizens from the

United States without affording them the statutory protections provided under the INA. As a result,

the application of the Title 42 Process to Plaintiffs, which will result in their expulsion from the

United States, is contrary to law. See 5 U.S.C. § 706(2)(A).

81.85. The Title 42 Process, which was purportedly established pursuant to the authority of 42




                                                 18
      Case 1:21-cv-00100-EGS Document 130-2 Filed 02/09/22 Page 21 of 26




U.S.C. § 265, was not authorized by that provision and is ultra vires.

82.86. The application of the Title 42 Process to Plaintiffs is contrary to law. See 5 U.S.C.

§ 706(2)(A).

                                SECOND CLAIM FOR RELIEF

   (ASYLUM: VIOLATION OF 8 U.S.C. § 1158, ASYLUM, AND ADMINISTRATIVE
               PROCEDURE ACT, 5 U.S.C. §§ 706(1), 706(2)(A))

83.87. All of the foregoing allegations are repeated and realleged as if fully set forth herein.

84.88. The INA provides, with certain exceptions, that “[a]ny alien who is physically present in

the United States or who arrives in the United States (whether or not at a designated port of arrival

and including an alien who is brought to the United States after having been interdicted in

international or United States waters), irrespective of such alien’s status, may apply for asylum in

accordance with this section . . . .” 8 U.S.C. § 1158(a)(1).

85.89. Defendants’ application of the Title 42 Process to Plaintiffs has prevented them from

applying for asylum in accordance with 8 U.S.C. § 1158(a)(1), and was therefore contrary to law.

See 5 U.S.C. § 706(2)(A).

86.90. In addition, the APA provides relief for a failure to act: “The reviewing court shall . . .

compel agency action unlawfully withheld or unreasonably delayed.” 5 U.S.C. § 706(1).

87.91. By refusing to grant Plaintiffs the meaningful opportunity to apply for asylum to which

they are entitled, Defendants have withheld and unreasonably delayed actions mandated by the

statute. 5 U.S.C. § 706(1).

                                 THIRD CLAIM FOR RELIEF

        (VIOLATION OF 8 U.S.C. § 1231(b)(3), WITHHOLDING OF REMOVAL,
                  AND ADMINISTRATIVE PROCEDURE ACT,
                          5 U.S.C. §§ 706(1), 706(2)(A))

88.92. All of the foregoing allegations are repeated and realleged as if fully set forth herein.




                                                 19
      Case 1:21-cv-00100-EGS Document 130-2 Filed 02/09/22 Page 22 of 26




89.93. The “withholding of removal” statute, INA § 241(b)(3), codified at 8 U.S.C. § 1231(b)(3),

bars the removal of an individual to a country where it is more likely than not that he would face

persecution.

90.94. Defendants applied the Title 42 Process and regulation to Plaintiffs without this required

safeguard. As a result, Defendants’ actions against Plaintiffs are contrary to law. See 5 U.S.C.

§ 706(2)(A).

91.95. In addition, by refusing to grant Plaintiffs the procedural protections to which they are

entitled, Defendants have withheld and unreasonably delayed actions mandated by the statute. 5

U.S.C. § 706(1).

                                FOURTH CLAIM FOR RELIEF

 (VIOLATION OF THE FOREIGN AFFAIRS REFORM AND RESTRUCTURING ACT
      OF 1998, CODIFIED AT 8 U.S.C. § 1231 NOTE, AND ADMINISTRATIVE
                 PROCEDURE ACT, 5 U.S.C. §§ 706(1), 706(2)(A))

92.96. All of the foregoing allegations are repeated and realleged as if fully set forth herein.

93.97. FARRA prohibits the government from returning a noncitizen to a country where it is more

likely than not that he would face torture.

94.98. Defendants applied the Title 42 Process and regulation to Plaintiffs in violation of FARRA

and without adequate safeguards against their return to a country where it is more likely than not

that they would face torture. As a result, Defendants’ actions against Plaintiffs are contrary to law.

See 5 U.S.C. § 706(2)(A).

95.99. In addition, by refusing to grant Plaintiffs the procedures to which they are entitled,

Defendants have withheld and unreasonably delayed actions mandated by the statute. 5 U.S.C.

§ 706(1).

                                 FIFTH CLAIM FOR RELIEF




                                                 20
      Case 1:21-cv-00100-EGS Document 130-2 Filed 02/09/22 Page 23 of 26




  (VIOLATION OF 8 U.S.C. § 1101, ET SEQ., AND ADMINISTRATIVE PROCEDURE
                       ACT, 5 U.S.C. §§ 706(1), 706(2)(A))

96.100.        All of the foregoing allegations are repeated and realleged as if fully set forth

herein.

97.101.        The INA, 8 U.S.C. § 1101, et seq., sets out the sole mechanisms established by

Congress for the removal of noncitizens.

98.102.        The INA provides that removal proceedings before an immigration judge under 8

U.S.C. § 1229a is “the sole and exclusive procedure” by which the government may determine

whether to remove an individual, “[u]nless otherwise specified” in the INA.                8 U.S.C.

§ 1229a(a)(3). One mechanism otherwise specified in the INA is the expedited removal system,

including its credible fear screening process. 8 U.S.C. § 1225(b)(1).

99.103.        The Title 42 Process creates an alternative removal mechanism. The Title 42

Process purports to operate outside of the immigration laws set forth by Congress in Title 8.

100.104.       Because the Title 42 Process provides for the expulsion of Plaintiffs without the

procedures specified in the INA, it violates 8 U.S.C. § 1229a and the INA.

101.105.       As a result, Defendants’ actions against Plaintiffs were contrary to law. See 5

U.S.C. § 706(2)(A).

102.106.       In addition, by refusing to grant Plaintiffs access to the procedures specified in the

INA, Defendants have withheld and unreasonably delayed actions mandated by the statute. 5

U.S.C. § 706(1).

                                 SIXTH CLAIM FOR RELIEF

 (VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT, 5 U.S.C. § 706(2)(A))

103.107.       All of the foregoing allegations are repeated and realleged as if fully set forth




                                                21
       Case 1:21-cv-00100-EGS Document 130-2 Filed 02/09/22 Page 24 of 26




herein.

104.108.         TrumpIn March 2020, White House officials imposed the Title 42 Process on the

CDC, over the objections of agency experts, as a means to limit immigration and not as a bona

fide measure to protect public health.

109.      Since then, Defendants have continued to expel asylum-seeking families under the Title 42

Process on a pretextual basis over the objection of scientific experts within the government, while

easing restrictions on virtually all other forms of travel as well as other activities that pose the same

or greater COVID-19 risk. Defendants have continued to employ the Title 42 Process as a means

to limit migration and access to asylum and other forms of humanitarian protection rather than as

a bone fide public health measure.

105.110.         Defendants’ actions are arbitrary, capricious, and contrary to law. Among other

reasons, Defendants’ actions are arbitrary, capricious, and contrary to law because the policy was

based on pretextual reasons not related to public health; Defendants have not articulated a reasoned

explanation for their decision to apply the Title 42 Process to families; failed to adequately explain

and justify the disparate treatment of families from others who cross the border or those at the

border and in the interior in congregate settings; failed to consider relevant factors in applying the

Title 42 processProcess to them, including their fear of persecution and torture in their home

countries; relied on factors Congress did not intend to be considered; failed to consider and adopt

reasonable alternatives that were less restrictive; and offered no sufficient explanation for their

decision to expel them from the country; and failed to disclose the actual, non-pretextual reasons

for establishing and continuing the Title 42 Process and applying it to families.

106.111.          Plaintiffs’ subjection to the Title 42 Process is arbitrary, capricious, and contrary

to law because it also departs from the agency’sDefendants’ existing policies prohibiting the return




                                                   22
      Case 1:21-cv-00100-EGS Document 130-2 Filed 02/09/22 Page 25 of 26




of individuals who fear persecution or torture, without providing a reasoned explanation for

departing from these policies.

                                      PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully pray this Court to:

a.      Certify a Class of: All noncitizens who (1) are or will be in the United States; (2) come to

the United States as a family unit composed of at least one child under 18 years old and that child’s

parent or legal guardian; and (3) are or will be subjected to the Title 42 Process;

b.      Appoint the undersigned as Class Counsel;

c.      Declare unlawful the Title 42 Process as applied to Plaintiffs and Class Members;

d.      Enter an order enjoining Defendants from applying the Title 42 Process to Plaintiffs and

Class Members;

e.      Enter an order providing relief for Plaintiffs and Class Members by ordering that

Defendants stay their expulsion, remove them from the Title 42 Process, and afford them the

procedures guaranteed by the INA including access to asylum, withholding of removal, CAT

relief, and all other forms of relief to which they are eligible;

f.      Award Plaintiffs’ counsel reasonable attorneys’ fees under the Equal Access to Justice Act,

and any other applicable statute or regulation; and

g.      Grant such further relief as the Court deems just, equitable, and appropriate.




                                                  23
      Case 1:21-cv-00100-EGS Document 130-2 Filed 02/09/22 Page 26 of 26




Dated: January 28, 2021February 9, 2022                      Respectfully submitted,

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                                              24
